i. we ;
Case 2:04-cv-04319-JLL-RJH Document 1 Filed 09/03/04 Page 1 of 2 PagelD: 1

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
UNITED STATES COURTHOUSE %
50 WALNUT STREET, NEWARK, NEW JERSEY gS
GEORGE MICHAEL DOUMIT aq 3 Fe
409 WASHINGTON STREET. # 124 oe ww 6B
HOBOKEN, NEW JERSEY 07030 as cam
Fi, Ph, MESG: (561) 346-5994 2S U =
VICTIM/PLAINTIFF PRO SE me BS
GEORGE M. DOUMIT UNITED STATES DISTRICT COURT
VICTIM/PLAINTIFF DISTRICT OF NEW JERSEY
-VS-

Civil Action Docket No.

WEICHERT REALTORS OU-U34 (- Jit)

MR. WEICHERT: OWNER/C.E.O,

 

JOSEPH TAMBURO NOTICE OF CLAIM
MANAGER/BROKER/SALES REPRESENTATIVE OF WEICHERT REALTORS ,

PATRICK RICCIARDI OF C OMPLAINT :
MANAGER/BROKER/SALES REFRESRENTATIVE OF WEICHERT REALTORS AMENDMENT (S)

DITIONAL TOGETHER WITH
AND/OR INDEPENDENT CONTRACTORS 8 UMMONS(S)
ee FOLLOW TO FOLLOW
UPON JOINDER AND AMENDMENT
DEFENDANTS
NOTICE OF JIONDER OF

 

ADDITIONAL INDIVIDUAL DEFENDANTS
AND/OR SEPARATE REALTORS COMPANIES/CORPORATIONS

 

 

 

 

DEFENDANTS
ANDOR
CITY, MUNICIPAL, COUNTY, AND/OR STATE GOVERNMENTAL
DEPARTMENTS
—_ tung ot wt Ute to): ts AND/OR
EX-HUBOKEN MAYOR - ANTHONY RUSSU, BOARDS DEFENDANTS
AND WIRE MICHELLE RUSSO, TOGETHER WITH
‘THE HOBOKEN CITY POLICE DEPANTMENT: AMENDMENT(S} (AS NOTED ABOVE)
RUSSO/NAIMA GRANDELLA; TO FOLLOW
REALTY EXPRESS ene
AND LABARDARRA AND SON UPON AMENDMENT
HUDSON COUNTY
AND IT'S HOARD OF REALTORS:
STATE OF NEW JERSEY
AND (T'S DEFARTMENTS
AND REAL ESTATE COMMISSION; Pe. 1. of 2.

DEFENDANTS

 

 
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Case 2:04-cv-04319-JLL-RJH Document1 Filed 09/03/04 Page 2 of 2 PagelD: 2

Victim/Plaintiff George M. Doumit, with regard to his own safety and well being,
additionally on behalf of his two teenage children’s safety and well being, ages 16
‘ “daughter” and 16/17 “son” by way of Complaint against the defendant(s) says:

4PARTIES” & Including (but not limited io): DIVERSITY OF JURISDICTION”
together with FEDERAL QUESTION(S): “See Amendment”
1. The plaintiff George M. Doumit an individual, a bona fide resident of New Jersey Hudson/Gergen County(s), Florida
Primarily Hernandy County(s), of 400 Washington Street #124, Hoboken, New Jersey 07030 was lawfully employed through
an Independent Contractual Basis on June 29", 1998 by the defendant(s) Weichert Realtors of 1625 State Highway Route 10
East, Morris Plains, New Jersey 07950,

        

4, The plaintif( ‘s Independept Contract was Wrongtulhy ‘Terminated, Defa nid Slandered and Scandaled “la date”
(“both in written form together with verbal Assaults to date”) ON or about September 04", 1998 by the defendant(s) Weichert
Realtors, Owner/C.E.0, Mr. Weichert, Joseph Tamburo, Pat Riccihardi, as well a3 others te be named within plaintilf(s)
amendment, (“the defendants Libelous usder six year statute of limitations” in connections te other defendants to be juindered
within plainilfis amendment” ... See Page One).

3. “The defendants additionally CAUSING" Plaintiffs Tortress Feonomic Unlawful Impediments: ...

*The defendanis Libelous Ta Date” togeiher with for Back Pay/Back Commissions, Front Pay/Front Commissions together
with various additional Damages. The plalntiff(s) additional Tort Clalins in some matters “eaisting to date" under 1, 2, 3, & 4
—6 Year Statutes Of Limitations

4, The Defendants Including (but not limited to): THE CITY OF HOBOKEN, NEW JERSEY; EX-MAYOR ANTHONY
RUSSO, AND HIS WIFE MICHELLE RUSSO, AND SON MICHAEL RUSSO; THE HOBOKEN CITY POLICE
DEPARTMENT; RIVERSIDE REALTY: RUSSO/NAIMA GRANDERLLA: OWNER UF SUCH; REALTY EXPRESS ANT)
LABARBARRA AND SON: OWNERS OF SUCH; HUDSON COUNTY AND IT’S BOARD OF REALTORS; STATE OF
NEW JERSEY AND IT’S DEPARTMENT OF BANKING AND INSURANCE AND REAL ESATE COMMISSION;
DEFENDANTS.

 

. CALSES OF ACTION: DE FA marion ¥, Wad eR
Orde 4 ConTRACTUAL Incliding (but nat limited to): é °
Federal Statutes 1.04, at 1-20 (1998), & 18 USCA 1961-1968 (1970) “under 10 Year Statute Of Limitations; and/or NSA,

Little Statutes.
The defendants verbal and physical [ntimidations of Criminal Coercion(s):
*PORCING The Flaintifi(g) OFF THE JO through Criminal Violence.”
*FORCING The Flaintifi(s) OUT OF BUSINESS through Criminal Violence.”

The defendants Criminal and Civil Violathons/Restrictions “to date” of the plaintifi(s) Employment Civil Rights as defined
wider Federal 42: 1983 Civil Rights Act: Employment Diserimlnations Individious Diserimlaation(3), (“Lack Of Procedural
Due Process”), Through Defendants Exempling The Plaintift(s), and Other Civil Rights Matters.

The defendants Creating Fictitious Scandals with intent to Assault,
lyetame, and Standers the plaintiff(s) Independent Contracts
through Criminal Violence, “and various Mob Tactics Of Organized Crime.”

“THE DEFENDANTS UNLAWFULLY BARRING PAINTIFE(S) FROM EMPLOY MENT:*

The Defendants Restricting Plaintiff(s) Freedom(s) Of Action(s) and Access To Employment Hy and Through Various
Inthnidation(s) and Assaulis Of Criminal Violence.

*The defendant(s) Black Balllng/Rlack Listing/Foreing Plaintiff(s) Out Of Business through Criminal Means.”

The Defendants Destroying Including (but not limited to): Plaintifi(s) Good Names, Good Standings,
and Professional Career(s) through the defendants Creating Fictitious Scandals.

The Defendants Criminal Behaviors and Acts Of Violence “To Date.”

~The Plotting and/or by causing with Mulicions Intent “The Plaintiff(s) Tomicldes” (by 1", Degree Premedilation) and attempt.

 

  

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Lia =F
wt “DEMAND”
m= WHEREFORE plaintifi(s) demand judgment of $ 35,000,000,000.00 damages of relief by
mo
kL “pury: Eo.
ox rey OO
3, SEPLEMBER #2, 2004
ms sl '
= =
= {
= Pant CERTIFICATION GF VERIFICATION AND NON-COLLUSION
= Lam the plaineitf in the above entitled actlon, The allegations of the complaint are true to the best of my knowledge,

Information and belief, and the complaint iz made in truth and good falth, and without,collusion, for the causes set forth in it.
Iam aware that if uny of the foregoing statements made by me are willfully false, | am pnt.

     

SELTEMBER 02, 2004

 

 

 
